 2:18-mn-02873-RMG            Date Filed 06/17/25      Entry Number 7393        Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

                                                          MDL No. 2:18-mn-2873-RMG
In Re: AQUEOUS FILM-FORMING
FOAMS PRODUCTS LIABILITY                                 This Document Relates to:
LITIGATION
                                                          Brock Donnelly v. 3M Company et
                                                          al., No. 2:20-cv-00209-RMG

                                                          Clinton Speers & Gail Speers v.
                                                          3M Company et al., No. 2:21-cv-
                                                          03181-RMG

                                                          Kevin Voelker v. 3M Company et
                                                          al., No. 2:18-cv-03438-RMG


              DEFENDANTS’ FIRST OMNIBUS MOTION TO EXCLUDE
         PLAINTIFFS’ CAUSATION AND PLAUSIBILITY EXPERT TESTIMONY

       Pursuant to Federal Rules of Evidence 702 and Case Management Order Nos. 26-G and 26-J,

Defendants’ Co-Lead Counsel, on behalf of the PI Bellwether Defendants, submit this first omnibus

motion to exclude testimony from Dr. Joseph M. Braun, Dr. Robert Bahnson, and Dr. David H.

Sherman. As set forth in the accompanying memorandum of law, these experts’ opinions do not satisfy

the standards for the admission of expert testimony.
 2:18-mn-02873-RMG        Date Filed 06/17/25    Entry Number 7393   Page 2 of 3




Dated: June 17, 2025                    Respectfully submitted,
                                        /s/ Brian Duffy


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                                   Defense Co-Leads




                                           2
 2:18-mn-02873-RMG            Date Filed 06/17/25       Entry Number 7393         Page 3 of 3




                                  CERTIFICATE OF SERVICE

       On June 17, 2025, I electronically submitted the foregoing document with the Clerk of Court,

using the electronic case filing system of the Court. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).



                                                     /s/ Brian Duffy
                                                     Brian Duffy




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